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                             CERTIFICATE OF SERVICE

        I hereby certify that on January 27, 2025, I electronically filed the foregoing
document with the Clerk of the Court by using the CM/ECF system, which will send a
notice of electronic filingto the following CM/ECF participants. From my review of the
PACER / ECF docket records forthis case that the following attorneys will receive notice
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